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 9 Counsel for Plaintiff and the Putative Class

10 [Additional Counsel on Signature Page]

11
                                  UNITED STATES DISTRICT COURT
12
                               NORTHERN DISTRICT OF CALIFORNIA
13

14 H.K. and J.C., through their father and legal        Case No. 5:20-cv-02257-LHK
   guardian CLINTON FARWELL, individually
15 and on behalf of all others similarly situated,
                                                        NOTICE OF VOLUNTARY DISMISSAL
16          Plaintiffs,

17          v.

18 GOOGLE, LLC,

19          Defendant.

20         Plaintiffs H.K. and J.C., by and through their father and legal guardian Clinton Farwell, hereby

21 dismiss the above-entitled action against defendant Google LLC without prejudice pursuant to

22 Federal Rule of Civil Procedure 41(a)(1)(A)(i).

23 Dated: July 1, 2020                            BURSOR & FISHER, P.A.
24                                                By:    /s/ L. Timothy Fisher
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      NOTICE OF VOLUNTARY DISMISSAL                                     Case No.: 5:20-cv-02257-LHK
       Case 5:20-cv-02257-LHK Document 14 Filed 07/01/20 Page 2 of 2



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     NOTICE OF VOLUNTARY DISMISSAL       2                 Case No.: 5:20-cv-02257-LHK
